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                                                                         U.S. DISTRICT COURT
                                                                          DISTRICT OF MAINE
                                                                              PORTLAND
                                                                         RECEIVED AND FILED


                        UNITED STATES DISTRICT COURT                       MAR 2 0 2024
                             DISTRICT OF MAINE                       CHRISTA K. BERRY, CLERK
                                                                     BY________
 UNITED STATES OF AMERICA                                            DEPUTY CLERK



     v.
 FLORIN GEORGE !ONITA




                                     INDICTMENT

       The Grand Jury charges:

                                        COUNT1
                        Conspiracy to Commit Bank Fraud
       1.     At all times relevant to this Indictment, University Credit Union, cPort

Credit Union, People's Choice Credit Union, Northeast Credit Union, Atlantic Federal

Credit Union, and Midcoast Federal Credit Union were financial institutions as defined

by 18 U.S.C. § 20.

       2.    When affixed to an automated teller machine ("ATM"), po1table card

reading devices (also known as skimming devices), read and record information

encoded on the magnetic strip of access devices used at the targeted ATM by legitimate

customers during the period in which the device is affixed. Such information includes,

but is not limited to, personal identification and financial information such as bank

account, credit card account, and ATM and debit card information.

       3.    Micro camera equipment, used in connection with skimming devices,

captures the corresponding customer Personal Identification Number ("PIN") access

codes as they are entered by legitimate customers in the course of transactions and
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inquiries at ATM locations. The captured PINs can then be employed to authenticate

fraudulent transactions conducted with the stolen account numbers.

       4.     Beginning on about June 15, 2023, and continuing until at least July 8,

2023, within the District of Maine and elsewhere, the defendants,

                              FLORIN GEORGE IONITA


knowingly conspired together and with others, known and unknown, to execute and

attempt to execute a scheme to defraud financial institutions and to obtain money under

the custody or control of financial institutions by means of false or fraudulent pretenses,

representations, and promises.

              MANNER AND MEANS AND SCHEME TO DEFRAUD

       5.     Defendants FLORIN GEORGE !ONITA,                           and their co-

conspirators used the following manner and means to carry out the conspiracy and

scheme to defraud:

       6.     It was part of the conspiracy and scheme to defraud that FLORIN

GEORGE !ONITA,                       and their co-conspfrators traveled to Maine to

conduct their criminal activities.

       7.     It was part of the conspiracy and scheme to defraud that FLORIN

GEORGE IO NITA,                      and their co-conspirators stole the account

information of customers at various financial institutions as outlined in paragraph 1 of

this Indictment.

       8.     It was part of the conspiracy and scheme to defraud that FLORIN

GEORGE !ONITA,                        nd their co-conspirators installed, maintained, and

removed skimming devices inside and over the mouth of ATM card reading apparatuses
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and fmther installed, maintained, and removed micro camera equipment on the ATMs

belonging to financial institutions located within the District of Maine, including but not

limited to Atlantic Federal Credit Union and cPort Credit Union.

       9.     It was part of the conspiracy and scheme to defraud that FLORIN

GEORGE IONITA,                        and their co-conspirators coded the stolen account

information onto access devices in order to make counterfeit access devices. Specifically,
the defendants and their co-conspirators encoded the magnetic strips of blank cards

(including gift cards) Virith the fraudulently obtained account numbers.

       10.    It was part of the conspiracy and scheme to defraud that FLORIN

GEORGE IONITA,                        and their co-conspirators used the counterfeit access

devices Vlrith the stolen account information at ATMs to Vlrithdraw cash from victims'

financial accounts at various financial institutions as identified in paragraph 1 of this
Indictment.

                                       OVERTACTS

       11.    In furtherance of the conspiracy, at least one co-conspirator committed

the follov\ri.ng overt acts, among others:

                      Installation and Removal of Skimming Devices

       Overt Act 1: On June 16, 2023, defendants FLORIN GEORGE IONITA and

                 installed a skimming device on the ATM at the Atlantic Federal Credit

Union in Topsham, Maine.

       Overt Act 2: On June 16, 2023, defendant FLORIN GEORGE IONITA installed a

skimming device on the ATM at the cPort Credit Union in Portland, Maine.



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      Overt Act 3: On June 18, 2023, defendants FLORIN GEORGE !ONITA and

                removed the skimming device previously placed on the ATM at the

cPort Credit Union in Portland, Maine.

       Overt Act 4: On June 30, 2023, defendant FLORIN GEORGE IO NITA removed

the skimming device previously placed on the ATM at the Atlantic Federal Credit Union

in Topsham, Maine.

                     Withdrawals Using Stolen Account Information

       Overt Act 5: On June 24, 2023, the defendants presented a stolen financial

account number and PIN belonging to Victim F.K. to University Credit Union, thereby

withdra\.\ling money from F.K.'s cPort Credit Union account.

      Overt Act 6: On June 26, 2023, the defendants presented a stolen financial

account number and PIN belonging to Victim A.C. to Northeast Credit Union, thereby

withdrawing money from A.C.'s Northeast Credit Union account.

      Overt Act 7: On July 8, 2023, the defendants presented a stolen financial account

number and PIN belonging to Victim D.D. to Atlantic Federal Credit Union, thereby

·withdrav.,ing money from D.D.'s Atlantic Federal Credit Union account.

      Overt Act 8: On July 8, 2023, the defendants presented a stolen financial account

number and PIN belonging to Victim A.G. to Atlantic Federal Credit Union, thereby

·withdrawing money from A.G.'s Atlantic Federal Credit Union account.

      Overt Act 9: On July 8, 2023, the defendants presented a stolen financial account

number and PIN belonging to Victim T.P. to Midcoast Federal Credit Union, thereby

withdrawing money from T.P.'s Atlantic Federal Credit Union account.



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        Overt Act 10: On July 8, 2023, the defendants presented a stolen financial

account number and PIN belonging to Victim R.C. to Midcoast Federal Credit Union,

thereby withdrawing money from R.C.'s Atlantic Federal Credit Union account.

        Overt Act 11: On July 8, 2023, the defendants presented a stolen financial

account number and PIN belonging to Victim T.S. to Atlantic Federal Credit Union,

thereby ·withdrav.ring money from T.S.'s Atlantic Federal Credit Union account.

        In violation of Title 18, United States Code, Sections 1349 and 1344.

                                       COUNTS2-8
                                       Bank Fraud

        12.     All prior paragraphs of this Indictment are incorporated herein.

        13.     On about the dates set forth helm"' in each Count, in the District of Maine

and elsewhere, the defendants,

                               FLORIN GEORGE IONITA


unlawfully, willfully and knowingly executed and attempted to execute a scheme to

defraud financial institutions and to obtain money under the custody or control of

financial institutions by means of false and fraudulent pretenses, representations, and

promises. Specifically, the defendants presented stolen financial account numbers and

PINs of victims to ATMs at financial institutions in Maine, and fraudulently obtained a

total of approximately $134,000, and did aid and abet such conduct, as follows:

 Count          Date                    Act                    Transaction Location

    2         6/24/2023   $500 Withdrawn from cPort         University Credit Union
                          Credit Union Bank Account         391 Forest Ave.
                          Belonging to Victim F.K.          Portland, ME



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 Count         Date                   Act                    Transaction Location

   3         6/26/2023 $480 Withdrawn from                Northeast Credit Union
                       Northeast Credit Union Bank        45 Portland Rd
                       Account belonging to Victim        Kennebunk, ME
                       A.C.
   4         7/8/2023 $500 Withdrawn from Atlantic        Atlantic Federal Credit Union
                       Federal Credit Union Bank          41 Mallett Dr.
                       Account belonging to Victim        Freeport, ME
                       D.D.
   5         7/8/2023 $480 Withdrawn from Atlantic        Atlantic Federal Credit Union
                       Federal Credit Union Bank          41 Mallett Dr.
                       Account belonging to Victim        Freeport, ME
                       A.G.
   6         7/8/2023 $480 Withdrawn from Atlantic        Midcoast Federal Credit
                       Federal Credit Union Bank          Union
                       Account belonging to Victim        186 Lower Main St.
                       T.P.                               Freeport, ME
   7         7/8/2023 $440 Withdrawn from Atlantic        Midcoast Federal Credit
                       Federal Credit Union Bank          Union
                       Account belonging to Victim        186 Lower Main St.
                       R.C.                               Freeport, ME
   8         7/8/2023 $500 Withdravm from Atlantic        Atlantic Federal Credit Union
                       Federal Credit Union Bank          3 Union Park Rd.
                       Account belonging to Victim        Topsham, ME
                       T.S.


       In violation of Title 18, United States Code, Sections 1344 and 2.

                                   COUNTS9-15
                              Aggravated Identify Theft

       14.     All prior paragraphs of this Indictment are incorporated herein.

       15.     On about the dates set forth below in each Count, in the District of Maine,

the defendants,

                              FLORIN GEORGE IONITA


knowingly possessed and used, ·without lawful authority, a means of identification of

another person, knowing that the means of identification belonged to a real person,

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                                  FORFEITURE NOTICE

       16.       Upon conviction of one or more of the offenses in violation of Title 18,

United States Code, Sections 1349 and 1344 set forth in Count One of this Indictment, or

in violation of Title 18, United States Code, Section 1344, set forth in Counts Two

through Eight of this Indictment, the defendants,

                                FLORIN GEORGE !ONITA


shall forfeit to the United States, pursuant to Title 18, United States Code, Section

982(a)(2)(A), any property constituting, or derived from, proceeds the defendants

obtained directly or indirectly as the result of the offense including, but not limited to, a

money judgment in the amount of all such proceeds.

       17.       If any of the property described in Paragraph 15, above, as being

forfeitable pursuant to Title 18, United States Code, Section 982(a)(2)(A), as a result of

any act or omission of the defendants-

       a. cannot be located upon the exercise of due diligence;

       b. has been transferred or sold to, or deposited v.rith, a third party;

       c. has been placed beyond the jurisdiction of the Court;

       d. has been substantially diminished in value; or

       e. has been commingled ·with other property which cannot be divided without

             difficulty;

it is the intention of the United States, pursuant to Title 18, United States Code, Section

982(b), incorporating Title 21, United States Code, Section 853(p), to seek forfeiture of

any other property of the defendant up to the value of the property described in

paragraph 15 above.
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